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Case: 1:14-cv-10150 Document #: 562-39 Filed: 04/29/20 Page 4 of 28 PageID #:29416
Case: 1:14-cv-10150 Document #: 562-39 Filed: 04/29/20 Page 5 of 28 PageID #:29417
Case: 1:14-cv-10150 Document #: 562-39 Filed: 04/29/20 Page 6 of 28 PageID #:29418
Case: 1:14-cv-10150 Document #: 562-39 Filed: 04/29/20 Page 7 of 28 PageID #:29419
Case: 1:14-cv-10150 Document #: 562-39 Filed: 04/29/20 Page 8 of 28 PageID #:29420
Case: 1:14-cv-10150 Document #: 562-39 Filed: 04/29/20 Page 9 of 28 PageID #:29421
Case: 1:14-cv-10150 Document #: 562-39 Filed: 04/29/20 Page 10 of 28 PageID #:29422
Case: 1:14-cv-10150 Document #: 562-39 Filed: 04/29/20 Page 11 of 28 PageID #:29423
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Case: 1:14-cv-10150 Document #: 562-39 Filed: 04/29/20 Page 15 of 28 PageID #:29427
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